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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Venator Group


                                                 Tioxide Group
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       Hanzard Drive, Titanium House
                                       Number              Street                                     Number         Street

                                       Stockton on Tees
                                                                                                      P.O. Box
                                       Wynard Park, TS22 5FD, United Kingdom
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.venatorcorp.com

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




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Debtor            Venator Group                                                       Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2819

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☒      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Venator Group                                                        Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.       Debtor        See Rider 1                                      Relationship    Affiliate
    business partner or an
    affiliate of the debtor?                         District      Southern District of Texas
   List all cases. If more than 1,                                                                                  When            05/14/2023
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                         Number        Street



                                                                                         City                               State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☒       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Venator Group                                                       Case number (if known)
          Name



15. Estimated assets (on a           ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)              ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on        ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)            ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         05/14/2023
                                                              MM/ DD / YYYY


                                              /s/ Kurt Ogden                                                     Kurt Ogden
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                       Date        05/14/2023
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              Jackson Walker LLP
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                                Texas             77010
                                              City                                                                   State               ZIP Code

                                              (713) 752-4200                                                         mcavenaugh@jw.com
                                              Contact phone                                                             Email address
                                              24062656                                            Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Venator Materials PLC.

 Venator Materials PLC
 Venator Americas Holdings LLC
 Venator Chemicals France SAS
 Venator Chemicals LLC
 Venator Finance S.à r.l.
 Venator France SAS
 Venator Germany GmbH
 Venator Group
 Venator Group Canada Inc.
 Venator Group Services Limited
 Venator Holdings Germany GmbH
 Venator International France SAS
 Venator International Holdings UK Limited
 Venator Investments Ltd
 Venator Investments UK Limited
 Venator Materials International UK Limited
 Venator Materials UK Limited
 Venator Materials LLC
 Venator P&A Finland Oy
 Venator P&A Holdings UK Limited
 Venator P&A Spain S.L.U.
 Venator Pigments France SAS
 Venator Uerdingen GmbH
 Venator Wasserchemie Holding GmbH
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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    VENATOR GROUP,                                                   )   Case No. 23-[____] (___)
                                                                     )
                                  Debtor.                            )
                                                                     )

                                         LIST OF EQUITY SECURITY HOLDERS1

                                                                                            Percentage of
                   Equity Holder                   Address of Equity Holder
                                                                                             Equity Held
                                                 10001 Woodloch Forest Drive, 600, The
             Venator Americas Holdings, LLC                                                         100%
                                                         Woodlands, Texas




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 VENATOR GROUP,                                               )   Case No. 23-[____] (___)
                                                              )
                            Debtor.                           )
                                                              )

                                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                 Shareholder                           Approximate Percentage of Shares Held
          Venator Americas Holdings, LLC                                  100%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Venator Group

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       05/14/2023                                 /s/ Kurt Ogden
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kurt Ogden
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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Company number: 00249759



                                WRITTEN RESOLUTIONS

                                of the Board of Directors of

                                     VENATOR GROUP
                                      (the “Company”)
                                          13 May 2023
                            made on




The Undersigned:      Justin Phillipson

                      Jeff Pehrson

                      Bertrand Defoort

                      Kurt Ogden

(each a “Director” and together the “Directors”), being all of the directors of the Company
(the “Board”), hereby consent to, approve and adopt the following resolutions in writing with
respect to the Company pursuant to Regulation 8 of the Model Articles (as defined in the
Company's articles of association) which has been incorporated into the Company's articles
of association.

       1      BACKGROUND
WHEREAS:

             (a)    the ultimate parent of the Company is Venator Materials PLC
       (“Venator” and together with its subsidiaries, the “Venator Group”);

               (b)     the Company's Board of Directors has reviewed and considered certain
       materials presented by the management of the Company and the Company's financial
       and legal advisers, including, but not limited to, materials regarding the liabilities and
       obligations of the Company, its liquidity, strategic alternatives available to it and the
       effect of the foregoing on the Company's business, and has had adequate opportunity
       to consult such persons regarding the materials presented, obtain additional
       information and to fully consider each of the strategic alternatives available to the
       Company;

              (c)     the Company's Board of Directors has determined in the exercise of its
       business judgment that it is advisable and in the best interests of the Company and its
       stakeholders to enter into a restructuring transaction or series of transactions whereby
       the Company and certain other members of the Venator Group would restructure their
       debt obligations and other liabilities (the “Restructuring”), implemented by way of
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       an in-court process under the provisions of chapter 11 (“Chapter 11”) of title 11 of
       the United States Code (the “Bankruptcy Code”);

               1.1   the terms of a restructuring support agreement (the “Restructuring
       Support Agreement”) have been substantially agreed between Venator, certain
       Venator Group entities which are obligors under the Venator Group's New York law
       governed funded debt (the “Debt”) (including the Company) and certain lenders
       and/or noteholders of the Debt; and

               1.2    the transactions contemplated in the Restructuring Support Agreement
       are intended to align debt service obligations with projected cash flows, thereby
       optimising the Venator Group's long-term capital structure and liquidity.

       2       RESOLUTIONS

Having considered their duties to promote the success of the Company and the other matters
referred to in s. 172(1) Companies Act 2006, the Directors hereby pass the following written
resolutions, which shall be valid and effectual as if they had been passed at a meeting of the
Board duly convened and held, pursuant to Regulation 8 of the Model Articles as
incorporated into the Company's articles of association.

THAT:

               (a)     Restructuring Documents

                       (i)      each Director has determined that it is in the best interest of the
               Company, and its creditors, for the Directors to authorise the Company to (i)
               enter into the Restructuring Support Agreement by and among the Company,
               certain of its affiliates and certain commitment parties and (ii) to authorise the
               payment of certain fees in connection therewith;

                       (ii)    each Director acknowledges and believes that the Restructuring
               Support Agreement is procedurally and substantively fair to the Company as
               contemplated by applicable law and the Company's governing documents, to
               the extent applicable;

                       (iii)  any Director or any persons previously authorised and
               appointed to act as signatory on behalf of the Company in respect of the
               Restructuring (each, an “Authorised Person”), acting alone or with one or
               more other Authorised Persons be, and hereby are, authorised and empowered
               to enter on behalf of the Company into the Restructuring Support Agreement
               with such changes and in such form as the Authorised Person or Authorised
               Persons executing the same shall in his or their absolute discretion deem
               appropriate;

                       (iv)     each of the Authorised Persons, acting alone or with one or
               more other Authorised Persons be, and they hereby are, authorised and
               empowered to enter on behalf of the Company into a restructuring transaction
               or series of restructuring transactions by which the Company will restructure
               its debt obligations and other liabilities, including but not limited to the
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       restructuring transactions as described in the Restructuring Support Agreement
       (collectively, the “Restructuring Transactions”);

                (v)     each of the Authorised Persons, acting alone or with one or
       more other Authorised Persons be, and they hereby are, authorised and
       empowered to take or cause to be taken any and all such other and further
       action, and to execute (under the common seal of the Company, if
       appropriate), acknowledge, deliver, and file any and all such agreements,
       certificates, instruments, and other documents in furtherance of the
       Restructuring Transactions to which the Company is or will be a party,
       including, but not limited to, the Restructuring Support Agreement and all
       agreements and documents contemplated thereby (collectively, the
       “Restructuring Documents”), to incur and pay or cause to be paid all fees
       and expenses and engage such persons, in each case, in the form or
       substantially in the form thereof submitted to the Board, with such changes,
       additions and modifications thereto as the Authorised Persons executing the
       same shall, in their absolute discretion approve, such approval to be
       conclusively evidenced by such Authorised Person's and/or officer's
       execution and delivery thereof; and

               (vi)    each of the Authorised Persons be, acting alone or with one or
       more other Authorised Persons, and hereby are, authorised, directed and
       empowered in the name of, and on behalf of, the Company to take any and all
       actions to (i) obtain approval by a court of competent jurisdiction or any other
       regulatory or governmental entity of the Restructuring Documents in
       connection with the Restructuring Transactions and (ii) obtain approval by any
       court of competent jurisdiction or any other regulatory or governmental entity
       of any Restructuring Transactions.

        (b)    Voluntary petition for relief under applicable bankruptcy law and
 seeking necessary relief

       THAT:

                (i)     in the judgment of each Director it is desirable and in the best
       interest of the Company, its interest holders, its creditors, and other parties in
       interest, that the Company file or cause to be filed voluntary petitions for relief
       (the “Bankruptcy Petitions”) under the provisions of the Bankruptcy Code
       for the Company and any of its subsidiaries and any applicable foreign
       ancillary proceedings for the Company; and in accordance with the
       requirements in the Company's governing documents and applicable law,
       hereby consents to, authorises and approves, the filing of the Bankruptcy
       Petitions and the foreign ancillary proceedings, if any; and

               (ii)   each of the Authorised Persons, officers of the Company,
       and/or any persons to whom such Authorised Persons and/or officers delegate
       certain responsibilities, be, and hereby are, authorised to execute (under the
       common seal of the Company, if appropriate) and file, on behalf of the
       Company and its subsidiaries, all petitions, schedules, lists, and other motions,
       papers, or documents, and to take any and all action that they deem necessary
       or proper to obtain such relief, including, but not limited to, any action
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       necessary or proper to maintain the ordinary course operations of the
       Company's or any of its subsidiary's businesses.

       (c)    Retention of professionals

       THAT:

               (i)      each of the Authorised Persons, be, and hereby are, authorised,
       empowered and directed to employ: (i) the law firm of Kirkland & Ellis LLP
       as general bankruptcy counsel, (ii) the law firm of Jackson Walker LLP as co­
       bankruptcy counsel, (iii) Moelis & Company as investment banker, (iv)
       Alvarez & Marsal as restructuring advisor, (v) Epiq Corporate Restructuring,
       LLC as notice and claims agent, and (vi) any other legal counsel, accountants,
       financial advisors, restructuring advisors or other professionals the Authorised
       Persons deem necessary, appropriate or advisable; each to represent and assist
       the Company in carrying out its duties and responsibilities and exercising its
       rights under the Bankruptcy Code and any applicable law (including, but not
       limited to, the law firms filing any pleadings or responses) (the “Advisers”);
       and in connection therewith, the Authorised Persons, be, and hereby are
       authorised, empowered and directed, in accordance with the terms and
       conditions hereof, to execute (under the common seal of the Company, if
       appropriate) appropriate retention agreements, pay appropriate retainers, and
       to cause to be filed appropriate applications for authority to retain such
       services; and

               (ii)    each of the Authorised Persons, be, and hereby are, authorised,
       empowered and directed to execute (under the common seal of the Company,
       if appropriate) and file all petitions, schedules, motions, lists, applications,
       pleadings, and other papers, and to perform such further actions and execute
       (under the common seal of the Company, if appropriate) such further
       documentation that the Authorised Persons in their absolute discretion deem
       necessary, appropriate or desirable in accordance with these resolutions.

        (d)   Use of cash collateral, debtor-in-possession financing and adequate
 protection

       THAT:

               (i)    to the extent applicable to the Company, in the business
       judgment of the Directors it is desirable and in the best interest of the
       Company, its stakeholders, and its creditors, to obtain the benefits of (i) the
       use of cash collateral, as such term is defined in section 363(a) of the
       Bankruptcy Code (“Cash Collateral”), which is security for certain of the
       Company's prepetition secured lenders (the “Prepetition Secured Lenders”)
       under certain credit facilities by and among the Company, the guarantors party
       thereto and the lenders party thereto; and (ii) the incurrence of debtor-in-
       possession financing obligations (“DIP Financing”) by entering into a
       superpriority senior secured debtor in possession term loan facility (the “DIP
       Facility”) consistent with the terms and conditions set forth in the DIP Term
       Sheet (as defined in the Restructuring Support Agreement) (the administrative
       agent and collateral agent under the DIP Facility, the “DIP Agent”);
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              (ii)    in order to use and obtain the benefits of DIP Financing and the
      Cash Collateral, and in accordance with section 363 of the Bankruptcy Code,
      the Company will provide certain adequate protection to the Prepetition
      Secured Lenders (the “Adequate Protection Obligations”) as documented in
      proposed interim and final orders (collectively, the “Financing Orders”) to be
      submitted for approval of the Bankruptcy Court, and, to the extent that the
      Company is required to obtain consent from the Prepetition Secured Lenders
      to enter into any of the DIP Facility Documents, as defined herein, such
      consent has been (or will be) obtained from the Prepetition Secured Lenders;

              (iii)   in the business judgment of the Directors, the form, terms, and
      provisions of the DIP Facility and such other agreements, certificates,
      instruments, receipts, petitions, motions or other papers or documents required
      to consummate the transaction considered by the Financing Orders
      (collectively, the “DIP Facility Documents”), substantially in the forms
      circulated to the Directors, and the Company's execution, delivery and
      performance of its obligations under the DIP Facility Documents, including
      without limitation the grant of security interests under the DIP Facility
      Documents, and any borrowings or guaranty therewith, be, and hereby are, in
      all respects, authorised and approved:

              (iv)   the Company will obtain benefits from the incurrence of the
      borrowings under the DIP Facility and the other obligations under the DIP
      Facility and the other DIP Facility Documents which are necessary and
      convenient to the conduct, promotion, and attainment of the business of the
      Company;

              (v)    to the extent applicable, the Company shall be, and is hereby,
      authorised to enter into the DIP Facility and incur the obligations thereunder
      (the “DIP Obligations”), including the borrowing of the loans under the DIP
      Credit Agreement and other obligations related to the DIP Financing and to
      undertake any and all related transactions on substantially the same terms as
      contemplated under the DIP Facility Documents, including granting liens on
      and security interests in its assets, including the Collateral (as defined in the
      DIP Facility Documents), to the DIP Agent and each of the Authorised
      Persons be, and hereby are, authorised, empowered and directed in the name
      of, and on behalf of, the Company to execute deliver and perform all of the
      obligations and the transactions contemplated under each of the DIP Facility
      Documents in the name and on behalf of the Company, with such changes,
      additions, and modifications thereto as such Authorised Person shall approve,
      with such approval to be conclusively evidenced by such Authorised Person's
      execution and delivery thereof;

               (vi)    each of the Authorised Persons be, and hereby are, authorised,
      in the name and on behalf of the Company, to take all such further actions or
      cause all such further actions to be taken and to execute and deliver all such
      further agreements, documents, instruments, certificates recordings and
      filings, in the name and on behalf of the Company, as in the determination of
      such Authorised Person shall be necessary, proper or advisable in order to
      fully carry out the intent and accomplish the purposes of the foregoing
      resolutions and to consummate the transactions contemplated thereby, such
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      authority to be conclusively evidenced by the execution of any document or
      the taking of any such action by such Authorised Person;

              (vii) each of the Authorised Persons be, and hereby are, authorised,
      in the name and on behalf of the Company, to enter into any guarantees as
      described or contemplated by the DIP Facility Documents or any other
      documents, certificates, instruments, agreements, intercreditor agreements,
      any extension amendment, any incremental agreement or any other
      amendment required to consummate the transactions contemplated by the DIP
      Facility Documents and perform its obligations thereunder and to guarantee
      the payment and performance of the DIP Obligations of the Company and any
      other guarantor thereunder;

              (viii) each of the Authorised Persons be, and hereby are, authorised,
      empowered and directed in the name of, and on behalf of, the Company to
      incur the DIP Obligations and to approve the use of the Cash Collateral
      pursuant to the Financing Orders, and any Authorised Person be, and hereby
      is, authorised, empowered and directed to negotiate, execute and deliver any
      and all agreements, instruments or documents, by or on behalf of the
      Company, necessary to implement the postpetition financing, including the
      Adequate Protection Obligations to the Prepetition Secured Lenders in
      accordance with section 363 of the Bankruptcy Code, as well as any additional
      or further agreements for entry into the DIP Facility Documents and the use of
      Cash Collateral in connection with the Chapter 11 case, which agreements
      may require the Company to grant adequate protection and liens to the
      Prepetition Secured Lenders and each other agreement, instrument or
      document to be executed and delivered in connection therewith, by or on
      behalf of the Company pursuant thereto or in connection therewith, all with
      such changes therein and additions thereto as any Authorised Person approves,
      such approval to be conclusively evidenced by the taking of such action or by
      the execution and delivery thereof;

              (ix)   each of the Authorised Persons be, and hereby are, authorised,
      directed and empowered, in the name of, and on behalf of, the Company to
      take such actions and negotiate or cause to be prepared and negotiated and to
      execute, deliver, perform and cause the performance of, each of the
      transactions contemplated by the DIP Facility Documents and such other
      agreements, certificates, instruments, receipts, petitions, motions or other
      papers or required documents to which the Company is or will be party or any
      order entered into in connection with the Chapter 11 case (together with the
      DIP Facility Documents and the Financing Orders, collectively, the
      “Financing Documents”) and to incur and pay or cause to be paid all related
      fees and expenses, with such changes, additions and modifications thereto as
      an Authorised Person executing the same shall approve;

              (x)    the Company, as a debtor and debtor-in-possession under the
      Bankruptcy Code shall be, and hereby is, authorised, empowered and directed
      to incur any and all obligations and to undertake any and all related
      transactions on substantially the same terms as contemplated under the
      Financing Documents, including granting liens on its assets to secure such
      obligations;
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              (xi)     each of the Authorised Persons, be, and hereby are, authorised,
      empowered and directed in the name of, and on behalf of, the Company, to
      execute and deliver any amendments, supplements, modifications, renewals,
      replacements, consolidations, substitutions and extensions of the postpetition
      financing or any of the Financing Documents or to do such other things which
      shall in his or her sole business judgment be necessary, desirable, proper or
      advisable in order to perform the DIP Obligations and to give effect to the
      foregoing resolutions, which determination shall be conclusively evidenced by
      his or her or their execution thereof;

              (xii) each of the Authorised Persons, acting alone or with one or
      more other Authorised Persons be, and each of them hereby is, authorised,
      directed, and empowered in the name of, and on behalf of, the Company, as
      debtors and debtors in possession, to file or to authorize the DIP Agent to file
      any Uniform Commercial Code (the “UCC”) financing statements, any other
      equivalent filings, any intellectual property filings and recordation and any
      necessary assignments for security or other documents in the name of the
      Company that the DIP Agent deems necessary or appropriate to perfect any
      lien or security interest granted under the Financing Orders, including any
      such UCC financing statement containing a generic description of collateral,
      such as “all assets,” “all property now or hereafter acquired” and other similar
      descriptions of like import, and to execute and deliver, and to record or
      authorize the recording of, such mortgages and deeds of trust in respect of real
      property of the Companies and such other filings in respect of intellectual and
      other property of the Companies, in each case as the DIP Agent may
      reasonably request to perfect the security interests of the DIP Agent under the
      Financing Orders;

              (xiii) each of the Authorised Persons, acting alone or with one or
      more other Authorised Persons be, and each of them hereby is, authorised,
      directed, and empowered in the name of, and on behalf of, the Company, as
      debtor and debtor in possession, to take all such further actions, including,
      without limitation, to pay or approve the payment of all fees and expenses
      payable in connection with the DIP Facility and all fees and expenses incurred
      by or on behalf of the Company in connection with the foregoing resolutions,
      in accordance with the terms of the DIP Facility Documents, which shall in
      their sole judgment be necessary, proper, or advisable to perform any of the
      Company's obligations under or in connection with the Financing Orders or
      any of the other DIP Facility Documents and the transactions contemplated
      therein and to fully carry out the intent of the foregoing resolutions;

              (xiv) each Authorised Person of the Company, any one of whom
      may take action individually, is hereby authorised, in the name and on behalf
      of the Company, respectively, to (a) prepare any amendments, waivers,
      consents, supplements, or other modifications under the DIP Facility
      Documents and/or all other agreements, instruments, documents, notices and
      certificates constituting exhibits to or that may be required, necessary,
      appropriate, desirable or advisable to be executed and delivered pursuant to
      the DIP Facility Documents or otherwise permitted thereunder or related
      thereto (each an “Additional DIP Facility Document”) to which the
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      Company is a party as may be necessary, convenient, advisable, desirable or
      appropriate at any time from time to time, which amendments, waivers,
      consents or supplements may provide for modifications or relief under such
      agreements or documents and may require consent payments, fees or other
      amounts payable in connection therewith, and (b) execute and deliver such
      amendments, waivers, consents, supplements, or other modifications under
      such agreements or documents as such Authorised Person shall deem to be
      necessary, convenient, advisable, desirable or appropriate, such execution and
      delivery by such Authorised Person to be conclusive evidence of his or her
      determination and approval of the necessity, appropriateness or advisability
      thereof; and

              (xv) the signature of any Authorised Person of the Company to each
      DIP Facility Document, and each Additional DIP Facility Document and any
      amendments, waivers, consents, supplements, or other modifications to which
      the Company is a party shall be conclusive evidence of the authority of such
      Authorised Person to execute and deliver such documents and (b) any person
      dealing with any Authorised Person of the Company in connection with any of
      the foregoing matters shall be conclusively entitled to rely upon the authority
      of such Authorised Person and by his or her execution of any document or
      agreement, the same shall be valid and binding obligations of the Company
      enforceable in accordance with its terms.

      (e)    Further actions and prior actions

      THAT:

              (i)     the Company is hereby authorised to authorise (and the
      Company hereby authorises) any direct or indirect subsidiary of the Company
      or any entity of which the Company or any subsidiary of such Company is the
      sole member, general partner, managing member, or equivalent manager, as
      applicable, to take each of the actions described in these resolutions or any of
      the actions authorised in these resolutions, and none of the resolutions
      contained herein, or action taken in furtherance hereto, shall have or cause an
      adverse effect on any such subsidiary or the Company's interest therein
      (including without limitation, any automatic dissolution, divestiture,
      dissociation, or like event under applicable law);

               (ii)    in addition to the specific authorisations heretofore conferred
      upon the Authorised Persons, the Authorised Persons, either individually or as
      otherwise required by the Company's governing documents and applicable
      law, be, and each of them hereby is, authorised to execute (under hand or
      under the common seal of the Company if appropriate), acknowledge, deliver
      and file any and all agreements, certificates, instruments, powers of attorney,
      letters, forms, transfer, deeds and other documents on behalf of the Company
      relating to the Restructuring Matters;

              (iii)   each of the Authorised Persons (and their designees and
      delegates) be, and hereby is, authorised and empowered, in the name of and on
      behalf of the Company, to take or cause to be taken any all such other and
      further action, and to execute (under the common seal of the Company, if
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      appropriate), acknowledge, deliver and file any and all such agreements,
      certificates, instruments and other documents and to pay all expenses,
      including but not limited to filing fees, in each case as in such Authorised
      Person's or Authorised Persons' absolute discretion, shall be necessary,
      appropriate or desirable in order to fully carry out the intent and accomplish
      the purposes of the resolutions adopted herein;

              (iv)    each Director has received sufficient notice of the actions and
      transactions relating to the matters contemplated by the foregoing resolutions,
      as may be required by the governing documents of the Company, or hereby
      waives any right to have received such notice;

              (v)     all acts, actions and transactions relating to the matters
      contemplated by the foregoing resolutions done in the name of and on behalf
      of the Company, which acts would have been approved by the foregoing
      resolutions except that such acts were taken before the adoption of these
      resolutions, are hereby in all respects approved, confirmed and ratified as the
      true acts and deeds of the Company with the same force and effect as if each
      such act, transaction, agreement, or certificate had been specifically authorised
      in advance by resolution of the Board;

              (vi)    any Director or Authorised Person be, and each of them hereby
      is, authorised to do all such other acts, deeds and other things as the Company
      itself may lawfully do, in accordance with its governing documents and
      applicable law, howsoever arising in connection with the matters above, or in
      furtherance of the intentions expressed in the foregoing resolutions, including,
      but not limited to, the negotiation, finalisation, execution (under hand or
      common seal, whether or not expressed to be a deed, as may be necessary or
      appropriate) and delivery of any other agreements, certificates, instruments,
      powers of attorney, letters, forms, transfer, deeds and other documents
      whatsoever as the individual acting may in his/her absolute and unfettered
      discretion approve, deem or determine necessary, appropriate or advisable,
      such approval, deeming or determination to be conclusively evidenced by said
      individual taking such action or the execution thereof; and

              (vii) Each of the Advisers be, and each of them hereby is, authorised
      to perform all acts in furtherance of the resolutions approved herein.

      (f)    Approval of Venator

              (i)    The Board acknowledges that the resolutions above shall be
      subject to and conditional upon approval of the Chapter 11 case and related
      resolutions by the board of directors of Venator Materials PLC.
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